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                                                                         5                                    UNITED STATES DISTRICT COURT
                                                                         6                                 NORTHERN DISTRICT OF CALIFORNIA
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                                                                         8    SOMRAJ SINGH,                                          No. C-14-05556 EMC
                                                                         9                   Plaintiff,
                                                                         10          v.                                              ORDER TO SHOW CAUSE RE
                                                                                                                                     DECEASED PLAINTIFF
United States District Court




                                                                         11   ASIANA AIRLINES, and DOES 1-25.
                               For the Northern District of California




                                                                         12               Defendants.
                                                                              ___________________________________/
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                                                                         14          On July 9, 2015, Defendants filed a Case Management Statement indicating that Mr. Somraj
                                                                         15   Singh, the pro se (and sole) Plaintiff in this action, recently died. Docket No. 28. Defendants have
                                                                         16   represented that the Plaintiff’s estate has indicated there is no interest in pursuing this case. Id.
                                                                         17   Accordingly, Defendants ask the Court to take the upcoming Case Management Conference off
                                                                         18   calendar and to dismiss this action without prejudice. Id.
                                                                         19          The Court hereby vacates all pending deadlines in this case, including the upcoming Case
                                                                         20   Management Conference set for August 6, 2015. However, the Court will not dismiss the action at
                                                                         21   this time. Rather, Plaintiff’s estate or other authorized legal representative is ORDERED to show
                                                                         22   cause why this action should not be dismissed. In any filing, Plaintiff’s authorized legal
                                                                         23   representative shall state whether they intend to prosecute this action on behalf of Singh’s estate. If
                                                                         24   Plaintiff’s estate intends to prosecute this action further, an authorized representative shall make an
                                                                         25   appearance before the Court.
                                                                         26          Any response to this Order to Show Cause shall be filed with the Court no later than forty-
                                                                         27   five (45) days from the date of this Order. If no response is filed by that deadline, Defendants shall
                                                                         28   notify the Court, which will then dismiss the action and close this case. Defendants are ORDERED
                                                                                 Case 3:14-cv-05556-EMC Document 29 Filed 07/10/15 Page 2 of 2



                                                                         1    to serve a copy of this Order on Mr. Singh’s estate and the “attorney representing Mr. Singh’s
                                                                         2    daughter in probate proceedings” referred to in Defendant’s Case Management Statement. Such
                                                                         3    service must be effectuated within ten (10) days of the date of this Order. Defendant shall file proof
                                                                         4    of service with the Court.
                                                                         5           IT IS SO ORDERED.
                                                                         6    Dated: July 10, 2015
                                                                         7
                                                                                                                                    _________________________
                                                                         8                                                          EDWARD M. CHEN
                                                                                                                                    United States District Judge
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United States District Court




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                               For the Northern District of California




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